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 4
     Attorney for Defendant
 5   Allen Lam

 6
                                UNITED STATES DISTRICT COURT
 7
                              NORTHERN DISTRICT OF CALIFORNIA
 8                                  SAN FRANCISCO DIVISION
 9

10   UNITED STATES OF AMERICA,            )           Case No.: CR 18-00527 WHA
                                          )
11         Plaintiff,                     )
                                          )
12         vs.                            )           NOTICE OF APPEARANCE
                                          )
13   ALLEN LAM, et al.,                   )
                                          )
14         Defendants.                    )
                                          )
15   _____________________________________)

16

17          Attorney Daniel Olmos hereby gives Notice of Appearance as attorney of record for

18   Defendant Allen Lam in the above-entitled case. Daniel Olmos will serve as co-counsel for Mr.

19   Lam with attorney of record Michael Stepanian.

20

21   Date: December 12, 2018                    Respectfully submitted,

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23                                              __________/s/____________
                                                Daniel Olmos
24                                              Attorney for Defendant Allen Lam
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